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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 GILBERT SANCHEZ                                   §
                                                   §
 VS.                                               §
                                                   §                    CA No. _________________
 ENTERPRISE OFFSHORE DRILLING                      §
 LLC AND SMART FABRICATORS OF                      §
 TEXAS, LLC                                        §


                               JOINT NOTICE OF REMOVAL

       Defendants, SMART FABRICATORS OF TEXAS, LLC, and ENTERPRISE

OFFSHORE DRILLING LLC (hereinafter referred to collectively as “Defendants”) file this

Notice of Removal of this dispute to the United States District Court for the Southern District of

Texas, Houston Division, and would show as follows:


                                           I.
                                   PENDING STATE SUIT

       1.      On December 11, 2018, Plaintiff, Gilbert Sanchez (hereinafter referred to as

“Plaintiff”) filed a civil action naming as Defendants ENTERPRISE OFFSHORE DRILLING

LLC (“Enterprise”) and SMART FABRICATORS OF TEXAS, LLC (“SmartFab”) in the 165th

Judicial District Court of Harris County, Texas, under “the Jones Act” and for alleged

negligence. See Plaintiff’s Original Petition and certificate of citation attached hereto as Exhibit

“A-1”. Enterprise was served with Plaintiff’s Original Petition on December 14, 2018. See

Citation return attached hereto as Exhibit “A-2”. SmartFab was served with Plaintiff’s Original

Petition on December 17, 2018. See Citation return attached hereto as Exhibit “A-3”.




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        2.     In response, SmartFab filed its Original Answer in the 165th Judicial District

Court on January 7, 2019. See SmartFab ‘s Original Answer attached hereto as Exhibit “A-4”.

Enterprise filed its Original Answer in the 165th Judicial District Court on January 9, 2019. See

Enterprise’s Original Answer attached hereto as Exhibit “A-5”.

        3.     The style of the case being removed is GILBERT SANCHEZ VS. ENTERPRISE

OFFSHORE DRILLING LLC AND SMART FABRICATORS OF TEXAS, LLC., Cause No. 2018-

88019 in the 165th Judicial District Court of Harris County, Texas.

        4.     The name and address of the Court from which the case is being removed is:

               165th Judicial District Court of Harris County, Texas
               201 Caroline St., 12th Floor, Houston, Texas 77002

        5.     In accordance with Local Rule 81, copies of all process, pleadings, a copy of the

docket sheet, together with an index of such documents are attached here to collectively as

Exhibit A. A list of all counsel of record is attached hereto as Exhibit B.

                                           II.
                                   TIMING OF REMOVAL

        5.     Enterprise was served with Plaintiff’s Original Petition on December 14, 2018.

See Exhibit “A-1”. SmartFab was served with Plaintiff’s Original Petition on December 17,

2018. See Exhibit “A-3”. Pursuant to 28 U.S.C. Section 1446, this removal is timely as it is being

filed within thirty (30) days of Plaintiff serving Enterprise and SmartFab with Plaintiff’s Original

Petition.

                                             III.
                                        JURISDICTION

        6.     This case is removed based on the Outer Continental Shelf Lands Act, which has

 exclusive jurisdiction over this lawsuit. See Barker v. Hercules Offshore, Inc., 713 F.3d 208,

 220 (5th Cir. 2013); see also 43 U.S.C. § 1349(b)(1). In particular, at the time of Plaintiff’s

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 alleged accident, the jack-up drilling rig at issue in this lawsuit was jacked up in South

 Timbalier Block 125 on the Outer Continental Shelf. See Affidavit of Glen Whitman attached

 hereto as Exhibit “C.” Accordingly, this Court has federal subject matter jurisdiction under the

 Outer Continental Shelf Lands Act as required for removal under 28 U.S.C. § 1441.

        7.      In his Petition, Plaintiff alleges he is a “seaman” and asserts a claim under the

 “Jones Act,” claiming it is therefore “not removable.” However, as his employer, SmartFab

 denies that Plaintiff was a seaman, and avers that his claims of seaman status are baseless in

 law and fact and brought only to frustrate federal jurisdiction.

                                               IV.
                                             VENUE

       7.       Pursuant to 28 U.S.C. section 1441, venue of the removed action is proper in this

Court because the 165th Judicial District Court of Harris County, Texas, where this matter was

originally filed, is located within in the District and Division of this Court.

                                               V.
                                            ANSWERS

        8.      SmartFab filed its Answer on January 7, 2019. See Exhibit “A-4”. Enterprise

filed its Answer on January 9, 2019. See Exhibit A-5.

                                    VI.
               NOTICE TO ADVERSE PARTIES AND TO STATE COURT

        9.      Defendants will give prompt written notice of the filing of this Notice of Removal

to Plaintiff as required by 28 U.S.C. Section 1446(d).

        10.     Defendants will promptly file a copy of this Notice of Removal with the 165th

Judicial District Court of Harris County, Texas where the state court action is currently pending

as required by 28 U.S.C. Section 1446(d).



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       WHEREFORE, in conformity with 28 U.S.C. Section 1446, Defendants ENTERPRISE

OFFSHORE DRILLING LLC, and SMART FABRICATORS OF TEXAS, LLC, respectfully

remove to this Court that civil action styled GILBERT SANCHEZ VS. ENTERPRISE OFFSHORE

DRILLING LLC AND SMART FABRICATORS OF TEXAS, LLC., Cause No. 2018-88019 in the

165th Judicial District Court of Harris County, Texas.

                                     Respectfully Submitted,

                                     HALL MAINES LUGRIN, P.C.

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                                CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing has been forwarded to all
the following counsel of record via electronic case filing, facsimile, certified mail, return receipt
requested and/or hand delivery on January 11, 2019.

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